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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,

                 Plaintiff,
                                                             CASE NO. 2:17-cv-785-JRG-RSP
         v.
                                                                      PATENT CASE
 CITGO PETROLEUM CORPORATION,
                                                               JURY TRIAL DEMANDED
                 Defendant.


      CITGO PETROLEUM CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES,
               AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

         Defendant CITGO Petroleum Corporation (“CITGO” or “Defendant”) files this Answer,

  Affirmative Defenses, and Counterclaims to Plaintiff Symbology Innovations, LLC’s (“Plaintiff”

  or “Symbology”) Complaint (“Complaint”). CITGO denies the allegations and characterizations

  in Plaintiff’s Complaint unless expressly admitted in the following paragraphs.1

         1.      CITGO admits that the Complaint purports to set forth an action for infringement

  under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that Plaintiff purports to

  seek damages, attorney’s fees, costs, and injunctive relief, but CITGO denies it has committed or

  is committing acts of infringement and denies Plaintiff is entitled to any relief. CITGO denies any

  remaining allegations in Paragraph 1 of the Complaint.




  1
   For avoidance of doubt, CITGO denies liability for all allegations of patent infringement included
  or implied in the introductory paragraph or in any headings of the Complaint.

  CITGO PETROLEUM CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES,
  AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT                                                  PAGE 1
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                                               PARTIES

         2.      CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 2 of the Complaint and, on that basis, denies all such

  allegations.

         3.      CITGO admits that it is a Delaware corporation and that it has a place of business

  at 1293 Eldridge Parkway, Houston, Texas 77077. CITGO further admits that it can be served

  through its registered agent, CT Corp. System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

  CITGO denies any remaining allegations in Paragraph 3 of the Complaint.

                                   JURISDICTION AND VENUE

         4.      CITGO admits that the Complaint purports to set forth an action for infringement

  under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that Plaintiff purports to

  seek damages, attorney’s fees, costs, and injunctive relief, but CITGO denies it has committed or

  is committing acts of infringement and denies Plaintiff is entitled to any relief. CITGO denies any

  remaining allegations in Paragraph 4 of the Complaint.

         5.      CITGO admits that this Court has subject matter jurisdiction over this action

  pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff has alleged infringement of a patent,

  but CITGO denies it has committed or is committing acts of infringement and denies Plaintiff is

  entitled to any relief. CITGO denies any remaining allegations in Paragraph 5 of the Complaint.

         6.      CITGO admits that it conducts business in the State of Texas. CITGO denies it has

  committed or is committing acts of infringement within the State of Texas or in this judicial district

  and, on that basis, denies the remaining allegations of Paragraph 6 of the Complaint.




  CITGO PETROLEUM CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES,
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         7.        CITGO denies it has committed or is committing acts of infringement within the

  State of Texas or in this judicial district and, on that basis, denies the allegations of Paragraph 7 of

  the Complaint.

         8.        CITGO denies that it is “deemed to reside” in this judicial district for purposes of

  28 U.S.C. § 1400(b). CITGO denies any remaining allegations in Paragraph 8 of the Complaint.

                                            BACKGROUND

                                               ’773 Patent

         9.        CITGO admits that the purported copy of U.S. Patent No. 7,992,773 (the “’773

  Patent”) that is attached to the Complaint as Exhibit A indicates that it issued on August 9, 2011,

  and is entitled “System and Method for Presenting Information About an Object on a Portable

  Electronic Device.” CITGO is without knowledge or information sufficient to form a belief as to

  the truth of the remaining allegations in Paragraph 9 of the Complaint and, on that basis, denies all

  such allegations.

         10.       CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such

  allegations.

         11.       CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 11 of the Complaint and, on that basis, denies all such

  allegations.

         12.       CITGO admits that the purported copy of the ’773 Patent that is attached to the

  Complaint as Exhibit A appears to contain eighteen claims of which three are independent and

  fifteen are dependent. CITGO denies any remaining allegations in Paragraph 12 of the Complaint.




  CITGO PETROLEUM CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES,
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         13.     CITGO admits that the claims of the ’773 Patent speak for themselves, but denies

  any characterizations inconsistent therewith. CITGO denies any remaining allegations in

  Paragraph 13 of the Complaint.

                                             ’752 Patent

         14.     CITGO admits that the purported copy of U.S. Patent No. 8,424,752 (the “’752

  Patent”) that is attached to the Complaint as Exhibit B indicates that it issued on April 23, 2013,

  and is entitled “System and Method for Presenting Information About an Object on a Portable

  Electronic Device.” CITGO is without knowledge or information sufficient to form a belief as to

  the truth of the remaining allegations in Paragraph 14 of the Complaint and, on that basis, denies

  all such allegations.

         15.     CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 15 of the Complaint and, on that basis, denies all such

  allegations.

         16.     CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 16 of the Complaint and, on that basis, denies all such

  allegations.

         17.     CITGO admits that the purported copy of the ’752 Patent that is attached to the

  Complaint as Exhibit B appears to contain twenty-eight claims of which three are independent and

  twenty-five are dependent. CITGO denies any remaining allegations in Paragraph 17 of the

  Complaint.

         18.     CITGO admits that the claims of the ’752 Patent speak for themselves, but denies

  any characterizations inconsistent therewith. CITGO denies any remaining allegations in

  Paragraph 18 of the Complaint.



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                                              ’369 Patent

         19.     CITGO admits that the purported copy of U.S. Patent No. 8,651,369 (the “’369

  Patent”) that is attached to the Complaint as Exhibit C indicates that it issued on February 18,

  2014, and is entitled “System and Method for Presenting Information About an Object on a

  Portable Electronic Device.” CITGO is without knowledge or information sufficient to form a

  belief as to the truth of the remaining allegations in Paragraph 19 of the Complaint and, on that

  basis, denies all such allegations.

         20.     CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 20 of the Complaint and, on that basis, denies all such

  allegations.

         21.     CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 21 of the Complaint and, on that basis, denies all such

  allegations.

         22.     CITGO admits that the purported copy of the ’369 Patent that is attached to the

  Complaint as Exhibit C appears to contain twenty-eight claims of which three are independent and

  twenty-five are dependent. CITGO denies any remaining allegations in Paragraph 22 of the

  Complaint.

         23.     CITGO admits that the claims of the ’369 Patent speak for themselves, but denies

  any characterizations inconsistent therewith. CITGO denies any remaining allegations in

  Paragraph 23 of the Complaint.

                                              ’190 Patent

         24.     CITGO admits that the purported copy of U.S. Patent No. 8,936,190 (the “’190

  Patent”) that is attached to the Complaint as Exhibit D indicates that it issued on January 20 2015,



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  and is entitled “System and Method for Presenting Information About an Object on a Portable

  Electronic Device.” CITGO is without knowledge or information sufficient to form a belief as to

  the truth of the remaining allegations in Paragraph 24 of the Complaint and, on that basis, denies

  all such allegations.

          25.     CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 25 of the Complaint and, on that basis, denies all such

  allegations.

          26.     CITGO is without knowledge or information sufficient to form a belief as to the

  truth of the allegations in Paragraph 26 of the Complaint and, on that basis, denies all such

  allegations.

          27.     CITGO admits that the purported copy of the ’190 Patent that is attached to the

  Complaint as Exhibit D appears to contain twenty claims of which three are independent and

  seventeen are dependent. CITGO denies any remaining allegations in Paragraph 27 of the

  Complaint.

          28.     CITGO admits that the claims of the ’190 Patent speak for themselves, but denies

  any characterizations inconsistent therewith. CITGO denies any remaining allegations in

  Paragraph 28 of the Complaint.

                                            COUNT ONE

                 ([ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 7,992,773)

          29.     CITGO incorporates by reference each of its responses set forth in Paragraphs 1-28

  above as if fully set forth herein.

          30.     CITGO admits that the cause of action asserted in the Complaint purports to set

  forth an action for infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.,



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  but CITGO denies it has committed or is committing acts of infringement and denies Plaintiff is

  entitled to any relief. CITGO denies any remaining allegations in Paragraph 30 of the Complaint.

         31.       CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’773 Patent and, on that basis, denies the allegations in Paragraph 31 of

  the Complaint.

         32.       CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’773 Patent. CITGO objects to Plaintiff’s reservation of rights “to amend

  the asserted claims for the ’773 Patent during discovery” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 32 of the Complaint.

         33.       CITGO denies the allegations in Paragraph 33 of the Complaint.

         34.       CITGO admits that a Quick Response (QR) code associated with an online map has

  appeared on its website. CITGO denies that it has committed or is committing acts of infringement

  in this district or elsewhere and, on that basis, denies any remaining allegations in Paragraph 34 of

  the Complaint.

         35.       CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies any remaining allegations in Paragraph 35 of the

  Complaint.

         36.       CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 36 of the Complaint.




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         37.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 37 of the Complaint.

         38.     CITGO denies that it has committed or is committing acts of infringement in this

  district or elsewhere and, on that basis, denies the allegations in Paragraph 38 of the Complaint.

         39.     CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’773 Patent. CITGO objects to Plaintiff’s reservation of rights “to amend

  [Exhibit E] based on any additional information obtained” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 39 of the Complaint and in Exhibit E to the Complaint.

         40.     CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegation in Paragraph 40 that the ’773 Patent “was duly issued.” CITGO denies the

  remaining allegations in Paragraph 40 of the Complaint.

         41.     CITGO denies the allegations in Paragraph 41 of the Complaint.

         42.     CITGO denies the allegations in Paragraph 42 of the Complaint.

         43.     CITGO denies the allegations in Paragraph 43 of the Complaint.

         44.     CITGO denies the allegations in Paragraph 44 of the Complaint.

         45.     CITGO denies the allegations in Paragraph 45 of the Complaint.

         46.     CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegations in Paragraph 46 and, on that basis, denies all such allegations.

         47.     CITGO denies the allegations in Paragraph 47 of the Complaint.




  CITGO PETROLEUM CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES,
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                                            COUNT TWO

                ([ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 8,424,752)

          48.      CITGO incorporates by reference each of its responses set forth in Paragraphs 1-47

  above as if fully set forth herein.

          49.      CITGO admits that the cause of action asserted in the Complaint purports to set

  forth an action for infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.,

  but CITGO denies it has committed or is committing acts of infringement and denies Plaintiff is

  entitled to any relief. CITGO denies any remaining allegations in Paragraph 49 of the Complaint.

          50.      CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’752 Patent and, on that basis, denies the allegations in Paragraph 50 of

  the Complaint.

          51.      CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’752 Patent. CITGO objects to Plaintiff’s reservation of rights “to amend

  the asserted claims for the ’752 Patent during discovery” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 51 of the Complaint.

          52.      CITGO denies the allegations in Paragraph 52 of the Complaint.

          53.      CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies any remaining allegations in Paragraph 53 of the

  Complaint.

          54.      CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies any remaining allegations in Paragraph 54 of the

  Complaint.



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         55.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 55 of the Complaint.

         56.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 56 of the Complaint.

         57.     CITGO denies that it has committed or is committing acts of infringement in this

  district or elsewhere and, on that basis, denies the allegations in Paragraph 57 of the Complaint.

         58.     CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’752 Patent. CITGO objects to Plaintiff’s reservation of rights “to amend

  [Exhibit F] based on any additional information obtained” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 58 of the Complaint and in Exhibit F to the Complaint.

         59.     CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegation in Paragraph 59 that the ’752 Patent “was duly issued.” CITGO denies the

  remaining allegations in Paragraph 59 of the Complaint.

         60.     CITGO denies the allegations in Paragraph 60 of the Complaint.

         61.     CITGO denies the allegations in Paragraph 61 of the Complaint.

         62.     CITGO denies the allegations in Paragraph 62 of the Complaint.

         63.     CITGO denies the allegations in Paragraph 63 of the Complaint.

         64.     CITGO denies the allegations in Paragraph 64 of the Complaint.



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          65.      CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegations in Paragraph 65 and, on that basis, denies all such allegations.

          66.      CITGO denies the allegations in Paragraph 66 of the Complaint.

                                           COUNT THREE

                ([ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 8,936,369)

          67.      CITGO incorporates by reference each of its responses set forth in Paragraphs 1-66

  above as if fully set forth herein.

          68.      CITGO admits that the cause of action asserted in the Complaint purports to set

  forth an action for infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.,

  but CITGO denies it has committed or is committing acts of infringement and denies Plaintiff is

  entitled to any relief. CITGO denies any remaining allegations in Paragraph 68 of the Complaint.

          69.      CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’369 Patent and, on that basis, denies the allegations in Paragraph 69 of

  the Complaint.

          70.      CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’369 Patent. CITGO objects to Plaintiff’s reservation of rights “to amend

  the asserted claims for the ’369 Patent during discovery” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 70 of the Complaint.

          71.      CITGO denies the allegations in Paragraph 71 of the Complaint.

          72.      CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies any remaining allegations in Paragraph 72 of the

  Complaint.



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         73.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies any remaining allegations in Paragraph 73 of the

  Complaint.

         74.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 74 of the Complaint.

         75.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 75 of the Complaint.

         76.     CITGO denies that it has committed or is committing acts of infringement in this

  district or elsewhere and, on that basis, denies the allegations in Paragraph 76 of the Complaint.

         77.     CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’369 Patent. CITGO objects to Plaintiff’s reservation of rights “to amend

  [Exhibit G] based on any additional information obtained” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 77 of the Complaint and in Exhibit G to the Complaint.

         78.     CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegation in Paragraph 78 that the ’369 Patent “was duly issued.” CITGO denies the

  remaining allegations in Paragraph 78 of the Complaint.

         79.     CITGO denies the allegations in Paragraph 79 of the Complaint.

         80.     CITGO denies the allegations in Paragraph 80 of the Complaint.



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          81.      CITGO denies the allegations in Paragraph 81 of the Complaint.

          82.      CITGO denies the allegations in Paragraph 82 of the Complaint.

          83.      CITGO denies the allegations in Paragraph 83 of the Complaint.

          84.      CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegations in Paragraph 84 and, on that basis, denies all such allegations.

          85.      CITGO denies the allegations in Paragraph 85 of the Complaint.

                                            COUNT FOUR

                ([ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 8,936,190)

          86.      CITGO incorporates by reference each of its responses set forth in Paragraphs 1-85

  above as if fully set forth herein.

          87.      CITGO admits that the cause of action asserted in the Complaint purports to set

  forth an action for infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.,

  but CITGO denies it has committed or is committing acts of infringement and denies Plaintiff is

  entitled to any relief. CITGO denies any remaining allegations in Paragraph 87 of the Complaint.

          88.      CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’190 Patent and, on that basis, denies the allegations in Paragraph 88 of

  the Complaint.

          89.      CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’190 Patent CITGO objects to Plaintiff’s reservation of rights “to amend

  the asserted claims for the ’190 Patent during discovery” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 89 of the Complaint.

          90.      CITGO denies the allegations in Paragraph 90 of the Complaint.



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         91.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies any remaining allegations in Paragraph 91 of the

  Complaint.

         92.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies any remaining allegations in Paragraph 92 of the

  Complaint.

         93.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 93 of the Complaint.

         94.     CITGO incorporates its admissions, averments, and denials in Paragraph 34 above

  as if set forth fully herein. CITGO denies that it has committed or is committing acts of

  infringement in this district or elsewhere and, on that basis, denies the remaining allegations in

  Paragraph 94 of the Complaint.

         95.     CITGO denies that it has committed or is committing acts of infringement in this

  district or elsewhere and, on that basis, denies the allegations in Paragraph 95 of the Complaint.

         96.     CITGO denies it has committed or is committing acts of infringement of any valid,

  enforceable claim of the ’190 Patent. CITGO objects to Plaintiff’s reservation of rights “to amend

  [Exhibit H] based on any additional information obtained” to the extent it circumvents the Federal

  Rules of Civil Procedure, the local civil rules, or any other order of this Court. CITGO denies the

  remaining allegations in Paragraph 96 of the Complaint and in Exhibit H to the Complaint.




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         97.     CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegation in Paragraph 97 that the ’190 Patent “was duly issued.” CITGO denies the

  remaining allegations in Paragraph 97 of the Complaint.

         98.     CITGO denies the allegations in Paragraph 98 of the Complaint.

         99.     CITGO denies the allegations in Paragraph 99 of the Complaint.

         100.    CITGO denies the allegations in Paragraph 100 of the Complaint.

         101.    CITGO denies the allegations in Paragraph 101 of the Complaint.

         102.    CITGO denies the allegations in Paragraph 102 of the Complaint.

         103.    CITGO lacks knowledge or information sufficient to form a belief about the truth

  of the allegations in Paragraph 103 and, on that basis, denies all such allegations.

         104.    CITGO denies the allegations in Paragraph 104 of the Complaint.

                          [PLAINTIFF’S] DEMAND FOR JURY TRIAL

         CITGO is not required to provide a response to Plaintiff’s request for a trial by jury.

                             [PLAINTIFF’S] PRAYER FOR RELIEF

         CITGO denies the Plaintiff is entitled to any relief from CITGO and denies all the

  allegations contained in Paragraphs (A)-(I) of Plaintiff’s Prayer for Relief.

                                    AFFIRMATIVE DEFENSES

         CITGO’s Affirmative Defenses are listed below. CITGO reserves the right to amend its

  answer to add additional Affirmative Defenses consistent with the facts discovered in this case.

                                FIRST AFFIRMATIVE DEFENSE

         CITGO has not infringed and does not infringe, under any theory of infringement

  (including directly (whether individually or jointly) or indirectly (whether contributorily or by

  inducement)), any valid, enforceable claim of the ’752, ’369, ’190 and/or ’773 Patents

  (collectively, the “Asserted Patents”).

  CITGO PETROLEUM CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES,
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                               SECOND AFFIRMATIVE DEFENSE

         Each asserted claim of the Asserted Patents is invalid for failure to comply with one or

  more of the requirements of the United States Code, Title 35, including without limitation, 35

  U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                                THIRD AFFIRMATIVE DEFENSE

         Plaintiff’s attempted enforcement of the Asserted Patents against CITGO is barred by the

  doctrine of inequitable conduct.

                               FOURTH AFFIRMATIVE DEFENSE

         To the extent that Plaintiff and any predecessors in interest to any of the Asserted Patents

  failed to properly mark any of their relevant products or materials as required by 35 U.S.C. § 287,

  or otherwise give proper notice that CITGO’s actions allegedly infringe the Asserted Patents,

  CITGO is not liable to Plaintiff for the acts alleged to have been performed before it received

  actual notice that it was allegedly infringing the Asserted Patents.

                                FIFTH AFFIRMATIVE DEFENSE

         To the extent that Plaintiff asserts that CITGO indirectly infringes, either by contributory

  infringement or inducement of infringement, CITGO is not liable to Plaintiff for the acts alleged

  to have been performed before CITGO knew that its actions would cause indirect infringement.

                                SIXTH AFFIRMATIVE DEFENSE

         Plaintiff’s attempted enforcement of the Asserted Patents against CITGO is barred by one

  or more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and unclean hands.

                              SEVENTH AFFIRMATIVE DEFENSE

         The claims of the Asserted Patents are not entitled to a scope sufficient to encompass any

  system employed or process practiced by CITGO.




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                              EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted because, among

  other things, Plaintiff has not stated a plausible allegation that CITGO makes, uses, or sells each

  claimed element of any asserted claim, or that CITGO directs or controls another entity to make,

  use, or sell any element that is not made, used, or sold by CITGO.

                               NINTH AFFIRMATIVE DEFENSE

         To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

  by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

  granted.

                               TENTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

  Asserted Patents do not claim patentable subject matter under 35 U.S.C. § 101.

                            ELEVENTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted because, among

  other things, Plaintiff has not stated a plausible allegation that any method employed by CITGO:

  (1) captures a digital image; (2) detects symbology associated with the digital image; (3) decodes

  the symbology to obtain a decode string; or (4) sends the decode string to a remote server for

  processing as required by the Asserted Patents.

                                  CITGO’S COUNTERCLAIMS

         For its counterclaims against Plaintiff Symbology Innovations, LLC (“Symbology”),

  Counterclaim Plaintiff CITGO Petroleum Corporation (“CITGO”) alleges as follows:




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                                              PARTIES

           1.    Counterclaim Plaintiff CITGO is a corporation organized and existing under the

  laws of the State of Delaware, with an office located at 1293 Eldridge Parkway, Houston, Texas

  77077.

           2.    Upon information and belief based solely on Paragraph 2 of the Complaint as pled

  by Plaintiff, Counterclaim Defendant Symbology Innovations, LLC, is a limited liability company

  organized and existing under the laws of the State of Texas, and maintains its principle place of

  business at 1400 Preston Road, Suite 400, Plano, Texas 75093.

                                          JURISDICTION

           3.    CITGO incorporates by reference Paragraphs 1–2 above.

           4.    These counterclaims arise under the patent laws of the United States, Title 35,

  United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

  and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

           5.    Symbology has consented to the personal jurisdiction of this Court at least by

  commencing its action for patent infringement in this District, as set forth in its Complaint.

           6.    Based solely on Symbology’s filing of this action, venue is proper, though not

  necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                              COUNT I

                    DECLARATION REGARDING NON-INFRINGEMENT

           7.    CITGO incorporates by reference Paragraphs 1–6 above.

           8.    Based on Symbology’s filing of this action and at least CITGO’s first affirmative

  defense, an actual controversy has arisen and now exists between the parties as to whether CITGO

  infringes U.S. Patent Nos. 7,992,773 (the “’773 Patent”); 8,424,752 (the “’752 Patent”); 8,651,369

  (the “’369 Patent”); and/or 8,936,190 (the “‘190 Patent”) (collectively, the “Asserted Patents”).

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         9.      CITGO does not infringe (a) Claim 1 or Claim 15 of the ’773 Patent because, among

  other things, it does not “use” or “test” any method or system that includes “one or more visual

  detection systems [that] are configured to run in the background”; (b) Claim 1 of the ’752 Patent,

  Claim 1 of the ’369 Patent, or Claim 1 of the ’190 Patent because, among other things, it does not

  “use” or “test” any method or system that: (i) captures a digital image; (ii) detects symbology

  associated with the digital image; (iii) decodes the symbology to obtain a decode string; or (iv)

  sends the decode string to a remote server for processing; (c) Claim 17 of the ’752 Patent, Claim

  17 of the ’369 Patent, or Claim 17 of the ’190 Patent because, among other things, it does not “use”

  or “test” any method or system that includes: (i) logic adapted to capture a digital image; (ii) logic

  adapted to detect symbology associated with the digital image; (iii) logic adapted to decode the

  symbology to obtain a decode string; (iv) logic adapted to send the decode string to a remote server

  for processing; or (v) logic adapted to receive a second amount of information about the object

  based on the decode string from the remote server; or (d) Claim 24 of the ’752 Patent, Claim 24

  of the ’369 Patent, or Claim 20 of the ’190 Patent because, among other things, it does not “use”

  or “test” any method or system that includes: (i) a symbology detecting module configured to

  detect symbology associated with the digital image; (ii) a decoding module configured to decode

  the symbology to obtain a decode string; (iii) a transferring module configured to send the decode

  string to a remote server for processing; and/or (iv) an information storage module configured to

  receive information about the object from the remote server.

         10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., CITGO

  requests a declaration by the Court that CITGO has not infringed and does not infringe any claim

  of the Asserted Patents under any theory (including directly (whether individually or jointly) or

  indirectly (whether contributorily or by inducement)).



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                                              COUNT II

                          DECLARATION REGARDING INVALIDITY

         11.     CITGO incorporates by reference Paragraphs 1–10 above.

         12.     Based on Symbology’'s filing of this action and at least CITGO’s Second

  Affirmative Defense, an actual controversy has arisen and now exists between the parties as to the

  validity of the claims of the Asserted Patents.

         13.     The asserted claims of the Asserted Patents are anticipated and/or rendered obvious

  by, inter alia, BarPoint.com, Neomedia’s Neo Reader; Microsoft’s Smart Tags; Android’s Shop

  Savvy; Red Laser; ScanBuy; U.S. Serial No. 60/118,051; U.S. Serial No. 60/187,646; U.S. Serial

  No. 60/185,546; U.S. Patent Application 2008/0004978; U.S. Patent No. 6,430,554; and/or U.S.

  Patent No. 6,651,053.

         14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq., CITGO

  requests a declaration by the Court claims of the Asserted Patents are invalid for failure to comply

  with one or more of the requirements of United States Code, Title 35, including without limitation,

  35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                                      PRAYER FOR RELIEF

         WHEREFORE, CITGO asks this Court to enter judgment in CITGO’s favor and against

  Symbology by granting the following relief:

         a)      a declaration that the Asserted Patents are invalid;

         b)      a declaration that CITGO does not infringe, under any theory, any valid claim of

  the Asserted Patents that may be enforceable;

         c)      a declaration that the Asserted Patents are unenforceable;

         d)      a declaration the Symbology take nothing by its Complaint;

         e)      judgment against Symbology and in favor of CITGO;

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         f)      dismissal of the Complaint with prejudice;

         g)      a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award

  to CITGO of its costs and attorneys’ fees incurred in this action; and

         h)      further relief as the Court may deem just and proper.

                                          JURY DEMAND

         CITGO hereby demands trial by jury on all issues.

  Dated: March 8, 2018                             Respectfully submitted,

                                                   FISH & RICHARDSON P.C.


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                                                   CITGO PETROLEUM CORPORATION




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and foregoing

  document has been served on March 8, 2018, to all counsel of record who are deemed to have

  consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                                 /s/ David B. Conrad
                                                 David B. Conrad




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